       Case 3:21-cv-01841-GPC-AGS Document 9 Filed 02/07/22 PageID.44 Page 1 of 1




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 7
 8                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF CALIFORNIA
 9
10
11   CANDACE HUDNELL,                  ) Case No.: 3:21-cv-01841-GPC-AGS
12                                     )
                  Plaintiff,           ) Notice of Settlement of Entire Case
13                                     )
14   v.                                )
                                       )
15
     CREDIT MANAGEMENT, LP; and DOES 1 )
16   through 10, inclusive,            )
17
                                       )
                   Defendants.         )
18                                     )
19                                     )
20
21         Please take notice that this matter has been settled. A Joint Motion to Dismiss is
22   anticipated to be filed within sixty (60) days.
23
24   DATED: February 7, 2022                  GOLDEN & CARDONA-LOYA, LLP
25                                            By: /s/ Cory M. Teed
26                                            Cory M. Teed
                                              Attorneys for Plaintiff Candace Hudnell
27
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                                        Notice of Settlement of Entire Case
